      Case 2:12-cr-00180-TLN Document 352 Filed 09/08/17 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )        Case №:2:12-cr-00180 MCE
                                                 )
12                   Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
13       vs.                                     )
     GURDEV KAUR JOHL,                           )
14                                               )
                     Defendant.                  )
15                                               )
                                                 )
16
17          The court referred a letter (ECF No. 348) to the Federal Defender. CJA Panel attorney
18   Erin Radekin is hereby appointed for the limited purpose of consulting the defendant regarding
19   this letter. Ms. Radekin is appointed effective September 6, 2017, the date the Office of the
20   Federal Defender first contacted her.
21          IT IS SO ORDERED.
22   Dated: September 7, 2017
23
24
25
26
27
28


     ORDER APPOINTING COUNSEL                         1
